
35 N.Y.2d 681 (1974)
Virginia I. MacKendrick, as Executrix of Gene E. MacKendrick, Deceased, Appellant,
v.
Newport News Shipbuilding and Dry Dock Company, Respondent.
Court of Appeals of the State of New York.
Argued September 13, 1974.
Decided October 7, 1974.
John J. Tomich for appellant.
Douglas A. Boeckmann for respondent.
Concur: Chief Judge BREITEL and Judges GABRIELLI, JONES, WACHTLER, RABIN, STEVENS and WITMER.[*]
Order affirmed, without costs, on the memorandum at the Appellate Division.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution.

